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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:05-cr-00017-MP-GRJ-1

GREGORY J. HALL,

       Defendant.

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                                           ORDER

       This cause comes on for consideration upon the Magistrate Judge's Report and

Recommendation dated May 17, 2013. (Doc. 518). The parties have been furnished a copy of

the Report and Recommendation and have been afforded an opportunity to file objections

pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de novo

determination of any timely filed objections.

       Having considered the Report and Recommendation, and any objections thereto timely

filed, I have determined that the Report and Recommendation should be adopted.

       Accordingly, it is hereby ORDERED AND ADJUDGED:

       1.      The magistrate judge’s Report and Recommendation is adopted and incorporated
               by reference in this order.

       2.      The motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255,
               (doc. 483) is DENIED.

       3.      A certificate of appealability is DENIED, pursuant to Rule 11(a) of the Rules
               Governing Section 2255 Cases in the U.S. District Courts.

       DONE AND ORDERED this            23rd day of July, 2013


                                                s/Maurice M. Paul
                                                Maurice M. Paul, Senior District Judge
